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 4
     Attorney for Defendant
 5
     DEBORAH POLLARD
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 7

 8                                UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                         Case No.: 2:17-CR-023 TLN
12
                    Plaintiff,
13
     vs.                                               STIPULATION AND ORDER
14                                                     CONTINUING STATUS CONFERENCE
     CURTIS PHILLIPS, CHARLES RAY                      AND EXCLUDING TIME UNDER THE
15                                                     SPEEDY TRIAL ACT
     GOODMAN, DEBORAH LYNN POLLARD,
16   CONWAY PHILLIPS, JR., and ELO WILLIE
     WADLEY,                                           Date:       July 26, 2018
17                                                     Time:        9:30 a.m.
                    Defendants.                        Court:      Hon. Troy L. Nunley
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22          This matter is presently set for a status conference on July 26, 2018. The case involves a
23   charged conspiracy to distribute cocaine base. The Drug Enforcement Administration’s
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     investigation included the use of confidential sources, controlled purchases, and court-authorized
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     wiretaps of a pager and two cellular telephones. The government has provided voluminous
26

27
     discovery to defense counsel, including nearly 500 pages of investigative reports and three discs
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 1   of recordings and other materials.
 2
             Attorney Steve Plesser recently replaced Attorney Greg Foster as appointed counsel for
 3
     Defendant Conway Phillips, Jr. Based on the nature of the investigation and Mr. Plesser’s recent
 4
     substitution into the case, all defense counsel except Michael Long require additional time to
 5

 6   conduct their own investigations regarding potential defenses in the case. Defendant Charles

 7   Goodman, represented by Michael Long, is going to enter a change of plea and, thus, is not part
 8
     of this stipulation.
 9
             The parties to this action, Plaintiff United States of America by and through Assistant
10
     United States Attorney Jason Hitt, Attorney Olaf Hedberg on behalf of Defendant Curtis Phillips,
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12   Attorney Toni White on behalf of Defendant Deborah Lynn Pollard, Attorney Steve Plesser on

13   behalf of Defendant Conway Phillips, Jr., and Attorney Todd Leras on behalf of Defendant Elo
14
     Willie Wadley, stipulate as follows:
15
             1.    By this stipulation, Defendants now move to vacate the status conference presently
16
                   set for July 26, 2018. The parties request to continue the status conference to August
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18                 30, 2018, at 9:30 a.m., and to exclude time between July 26, 2018 and August 30,

19                 2018 under Local Code T-4. The United States does not oppose this request.
20
             2. Due to the volume of discovery in the case, including 500 pages of investigative
21
                   reports and three discs containing additional materials, defense counsel for all
22
                   defendants are engaged in ongoing review of the discovery and defense investigation
23

24                 related to potential defenses in this matter. This investigation is necessary to ensure

25                 that potential defenses are explored and discussed with each defendant in the case.
26
             3. All defense counsel represent and believe that failure to grant additional time as
27
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 1              requested would deny each of them the reasonable time necessary for effective
 2
                preparation, considering the exercise of due diligence.
 3
            4. Based on the above-stated facts, the parties jointly request that the Court find that the
 4
                ends of justice served by continuing the case as requested outweigh the best interest
 5

 6              of the public and the Defendants in a trial within the time prescribed by the Speedy

 7              Trial Act.
 8
            5. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
 9
                seq., within which trial must commence, the time period of July 26, 2018 to August
10
                30, 2018, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), and
11

12              (B) (iv) [Local Code T-4] because it results from a continuance granted by the Court

13              at Defendants’ request on the basis that the ends of justice served by taking such
14
                action outweigh the best interest of the public and the Defendants in a speedy trial.
15
            6. Nothing in this stipulation and order shall preclude a finding that other provisions of
16
                the Speedy Trial Act dictate that additional time periods are excludable from the
17

18              period within which a trial must commence.

19          Assistant U.S. Attorney Jason Hitt and the below-signed defense counsel have reviewed
20
     this proposed order and authorized Toni White to sign it on their behalf.
21
     DATED: July 24, 2018
22                                                        By      Toni White for
                                                                  JASON HITT
23
                                                                  Assistant United States Attorney
24

25   DATED: July 24, 2018
                                                          By      /s/ Toni White for
26
                                                                  OLAF W. HEDBERG
27                                                                Attorney for Defendant
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 1                                                  CURTIS PHILLIPS
 2
     DATED: July 24, 2018
 3                                            By    /s/ Toni White
                                                    TONI L. WHITE
 4                                                  Attorney for Defendant
                                                    DEBORAH POLLARD
 5

 6   DATED: July 24, 2018
                                              By    /s/ Toni White for
 7                                                  STEVE PLESSER
                                                    Attorney for Defendant
 8
                                                    CONWAY PHILLIPS, JR.
 9
     DATED: July 24, 2018
10                                            By    /s/ Toni White for
                                                    TODD D. LERAS
11
                                                    Attorney for Defendant
12                                                  ELO WADLEY

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 1                                                ORDER
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            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is
 3
     hereby ordered that the status conference in this matter, scheduled for July 26, 2018, is vacated.
 4
     A new status conference is scheduled for August 30, 2018, at 9:30 a.m. The Court further finds,
 5

 6   based on the representations of the parties and Defendants’ request, that the ends of justice

 7   served by granting the continuance outweigh the best interests of the public and the defendants in
 8
     a speedy trial. Time shall be excluded under the Speedy Trial Act, 18 U.S.C. §
 9
     3161(h)(7)(B)(iv) and Local Code T-4, to allow necessary attorney preparation taking into
10
     consideration the exercise of due diligence for the period from July 26, 2018, up to and including
11

12   August 30, 2018.

13   DATED: July 24, 2018
14

15                                                           Troy L. Nunley
16
                                                             United States District Judge

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     ORDER CONTINUING STATUS
28   CONFERENCE
